      Case 8-10-73724-ast             Doc 465       Filed 07/19/13         Entered 07/19/13 13:23:58




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X
In re:
                                                                        Case No.: 10-73724-AST
JNL FUNDING CORP.,                                                      Chapter 11

                                    Debtor.
--------------------------------------------------------X

                   ORDER GRANTING IN PART AND DENYING IN PART
                   MOTION FOR CONTEMPT FILED BY EOPABC, INC.,
                  ASSIGNEE OF LIQUIDATION TRUSTEE SERVICES, LLC

                            Issues before the Court and summary of ruling

         Pending before the Court is the Motion for Contempt (the “Motion”) filed by EOPABC,

Inc. (“EOPABC”), assignee of the Liquidation Trustee Services, LLC (“LTS”), seeking the

imposition of contempt sanctions against Nina Francois, as Administrator of the Estate of Exume

Louise Simpson (“Francois”), and her attorney, Marcel Sager, Esq. (“Sager”). [dkt items

447-4561] Contempt is sought under Bankruptcy Code §§ 105, 524(a)(2), and 1141. EOPABC

also seeks to enforce the injunction arising under the plan of reorganization confirmed in these

consolidated cases. Responses to the Motion and supplemental pleadings were filed [dkt items

462, 464]. A hearing on the Motion was held on April 3, 2013. For the reasons set forth below,

the Motion is granted in part, and as a sanction for knowingly and willfully violating this Court’s

Orders, Francois shall be liable to pay $2,500.00 to EOPABC for a portion of its costs in bringing

this Motion; all other relief sought in the Motion is denied.

                                   Background and Procedural History

         On May 14, 2010 (the “Petition Date”), Debtor, JNL Funding Corp. (“JNL”), filed a

petition for relief pursuant to Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. § 101, et


1
 Unless otherwise indicated, all references to “dkt item –” are to items filed in the JNL Funding Corp. case,
10-73724-AST.
        Case 8-10-73724-ast             Doc 465        Filed 07/19/13        Entered 07/19/13 13:23:58




seq. (the “Bankruptcy Code”). Also on the Petition Date, JNL’s principal, Joseph Forgione

(“Forgione” and together with JNL, “Debtors”), filed his own voluntary petition, which was

assigned case number 10-73726-ast.2

           JNL was incorporated in 2002, prior to which time JNL’s principal, Mr. Forgione, operated

a similar business through a d/b/a he called JNL Funding. JNL was a specialized real estate

finance company that originated and invested in a diversified portfolio of first mortgage assets in

the residential real estate market. JNL was a “hard money” lender, investing primarily in real

estate related first mortgages and construction loans, making loans secured by first priority

mortgages primarily on single family and multi-family residential real properties. JNL’s loans

typically were made to real estate investors seeking to purchase and renovate properties for

investment purposes. See Affidavit of Joseph G. Forgione [dkt item 17].

           Prior to the Petition Date, Textron Financial Corporation (“TFC”), as lender, and JNL, as

borrower, had entered into a Loan and Security Loan Agreement dated as of August 18, 2006,

under which TFC agreed to and did make certain prepetition revolving loans and other financial

accommodations available to JNL (the “Agreement”). The Agreement was subsequently

amended to include TD Bank North (“TD”) as a participant lender (as amended, the “Loan

Agreement” and collectively, the “Lenders”).

           On May 18, 2010, shortly after the Petition Date, JNL filed a motion seeking entry of an

order authorizing the use of cash collateral pursuant to 11 U.S.C. § 363 (the “Cash Collateral

Motion”). [dkt item 7]

           On May 20, 2010, TFC filed an objection to the Cash Collateral Motion. [dkt item 11] In

TFC’s objection, it asserted that, as of the Petition Date, JNL was liable to the Lenders in the

approximate aggregate principal amount of $31,168,105.72, plus any then outstanding interest,
2
    All references to the Forgione case docket are “Forgione dkt item --.”


                                                            2
     Case 8-10-73724-ast        Doc 465      Filed 07/19/13     Entered 07/19/13 13:23:58




fees and expenses (collectively, the “Prepetition Obligations”). Also on May 20, 2010, an

emergency hearing was held, at which time JNL was authorized to use cash collateral on an interim

basis until a May 28, 2010 scheduled hearing (the “May 28 Hearing”).

       Prior to the May 28 Hearing, JNL and TFC entered into an agreement extending JNL’s use

of cash collateral until July 2, 2010, on certain terms and conditions, and providing adequate

protection for such use.

       On June 8, 2010, the United States Trustee (the “UST”) appointed an Official Committee

of Unsecured Creditors (the “Committee”) pursuant to 11 U.S.C. § 1102(a)(1). [dkt item 30]

       On July 13, 2010, this Court entered an Order setting September 21, 2010 as the last date to

file claims in the JNL Case. [dkt item 71]

       On July 27, 2010, this Court entered an Order setting October 4, 2010 as set as the last date

to file claims in the Forgione Case. [Forgione dkt item 24]

       On August 26, 2010, following various additional motions being filed and hearings being

held, this Court issued an Order directing that an examiner be appointed by the UST, and

establishing the examiner’s role as being to investigate and report on four primary issues regarding

JNL’s prepetition activity (the “Appointment Order”). [dkt item 154] This Court also authorized

an examiner to investigate other matters deemed “necessary and relevant to the complete and full

investigation of the four enumerated areas[.]” Appointment Order at p. 7.

       On September 7, 2010, this Court granted the UST’s application to appoint Christopher G.

Ellis as Examiner (the “Examiner”). [dkt item 160] To assist the Examiner in carrying out his

function, the Court ordered the parties to cooperate with the Examiner, and empowered the

Examiner to conduct voluntary interviews, review documents, and to issue Rule 2004 subpoenas




                                                 3
     Case 8-10-73724-ast        Doc 465     Filed 07/19/13     Entered 07/19/13 13:23:58




for involuntary production and examinations. This Court authorized the Examiner’s retention of

his financial advisory firm and a law firm. [dkt items 185, 189]

       After a hearing held on September 29, 2010, the Court issued an Order approving the Joint

Administration of JNL’s case and Forgione’s case under case number 10-73724-ast. [dkt items

202, 204]

       On October 28, 2010, the UST appointed a creditors committee in the jointly administered

cases. [dkt item 203] All the members of the joint Committee are Noteholders.

       On November 15, 2010, the Examiner issued a report of his findings (the “Examiner’s

Report”). [dkt item 209] The Examiner’s Report includes a scope of work performed, his

observations, and his conclusions.

       A status conference was held on December 1, 2010, at which the Examiner reported on his

observations and conclusions.

       After numerous additional pleadings were filed and hearings were held, on March 4, 2011,

Debtors, the Committee, and TFC filed a Joint Plan Term Sheet [dkt item 294] (the “Plan Term

Sheet”), which, inter alia, contemplated a global resolution of substantial portions of the Chapter

11 cases, including all investigations, claims and adversary proceedings as between JNL,

Forgione, TFC, the Committee, and the bankruptcy estates.

       On March 11, 2011, Debtors, the Committee, and TFC filed a Stipulation and Agreed

Order in Furtherance of Joint Plan Term Sheet [dkt item 296] providing for: (i) implementation of

the Plan Term Sheet by transfer of the TFC Collateral to TFC and commencement of liquidation of

that collateral; (ii) a budget for the period from execution of the Stipulation on March 11, 2011

through the effective date of the forthcoming Plan; (iii) transfer of certain amounts from the JNL

DIP accounts and the Forgione DIP account to an escrow account to be held by JNL’s counsel for




                                                 4
     Case 8-10-73724-ast         Doc 465     Filed 07/19/13     Entered 07/19/13 13:23:58




use in paying Allowed Administrative Claims under the Plan; (iv) transfer of the balance in JNL’s

DIP accounts to TFC; (v) a stay of all pending litigations and investigations by the parties to the

Stipulation and the Examiner and his professionals; (vi) deadlines for filing the Plan and

Disclosure Statement, the Disclosure Statement hearing, and Confirmation Hearing, and entry of

the Confirmation Order; (vii) Forgione and JNL’s CFO, Mayette, were to continue monitoring the

JNL business and protecting the TFC Collateral through the effective date of the Plan; and

(viii) representations and warranties by JNL, Forgione, and Mayette, which survive for a period of

six (6) months after the effective date.

       On March 18, 2011, Debtors, the Committee and TFC (collectively, the “Plan

Proponents”) filed their Joint Disclosure Statement. [dkt item 299] The Court scheduled a

hearing thereon for April 20, 2011, which was adjourned to May 11, 2011. [dkt items 308, 327]

On May 2, 2011, the Plan Proponents filed their Amended Disclosure Statement, and their

Amended Joint Plan of Reorganization (the “Plan”). [dkt items 323, 331] On May 10, 2011, the

Plan Proponents filed their Second Amended Disclosure Statement. [dkt item 330]

       On May 10, 2011, after a hearing on notice, the Court entered an Order Approving the JNL

Second Amended Disclosure Statement and Scheduling Hearing for Confirmation of Plan of

Reorganization for June 13, 2011. [dkt item 334]

       On June 13, 2011, the Court entered a separate Order Approving the Second Amended

Disclosure Statement and Scheduling Hearing for Confirmation of Plan of Reorganization in the

Forgione case. [Forgione dkt item 92]

       On June 30, 2011, after a hearing on notice, the Court entered its Order Confirming

Amended Joint Plan of Reorganization (the “Confirmation Order”) [dkt item 367], confirming the

Plan for both the JNL and Forgione cases.




                                                 5
     Case 8-10-73724-ast        Doc 465      Filed 07/19/13      Entered 07/19/13 13:23:58




       In spite of this extensive activity in these cases, and in spite of the existence of prepetition

litigation involving JNL and Francois (discussed further below), at no time was Francois given

notice of or otherwise made aware of these bankruptcy cases.

       On February 15, 2013, EOPABC, as assignee of LTS, as assignee of JNL, filed the instant

Motion seeking to have Francois and her attorney, Sager, held in contempt of Court for violating

the Confirmation Order and the Plan Injunction.

       On March 20 and 29, 2013, Sager and Francois filed opposition to the Motion.

       On April 3, 2013, counsel for EOPABC and Sager appeared at a hearing on the Motion and

presented arguments. At the conclusion of that hearing, this Court took the matter on submission.

The Plan and Confirmation Injunctions

       Relevant to the current dispute, the Plan provides, in part, as follows:

       13. LEGAL EFFECTS OF CONFIRMATION OF THE PLAN.

       (d) All Persons and governmental units who have held, currently hold, or may hold
       a Claim, Administrative Claim, or Interest discharged or terminated pursuant to the
       terms of the Plan shall be stayed, and upon completion of payments by Forgione of
       all amounts due under the Plan permanently enjoined by Section 524 of the
       Bankruptcy Code from taking any of the following actions on account of any such
       discharged Claim or terminated Interest: (i) commencing or continuing in any
       manner any action or other proceeding against Forgione, and his successors and
       assigns, and their assets or properties; (ii) enforcing, attaching, collecting, or
       recovering in any manner any judgment, award, decree, or order against Forgione,
       his successors and assigns, and their assets or properties; (iii) creating, perfecting,
       or enforcing any lien or encumbrance against Forgione, his successors and assigns,
       and their assets or properties; (iv) asserting any setoff, right of subrogation, or
       recoupment of any kind against any obligation due to Forgione, his successors and
       assigns, and their assets or properties; and (v) commencing or continuing any
       action, in any manner or place, that does not comply with or is inconsistent with the
       provisions of the Plan or the Confirmation Order. Any Person or governmental unit
       violating such injunction may be liable for actual damages, including costs and
       attorneys’ fees and, in appropriate circumstances, punitive damages.

Plan at ¶ 13.1(d) [dkt item 331].

       Also relevant to the current dispute, the Confirmation Order provides, in part, as follows:



                                                  6
Case 8-10-73724-ast        Doc 465     Filed 07/19/13     Entered 07/19/13 13:23:58




 7. Pursuant to the Plan, upon the occurrence of the Effective Date the Debtors shall
 transfer all of the TFC Collateral to the Liquidating Trust, together with all rights,
 claims and causes of action related thereto, except as otherwise expressly provided
 in the Plan. In connection with such transfers and conveyances, the Debtors agree
 to provide or execute corrective instruments or such other instruments as may be
 reasonably requested, from time to time, by the Lenders or the Liquidating Trustee.

 8. In accordance with § 1141(a) of the Bankruptcy Code, the provisions of the Plan
 and this Confirmation Order are binding on the Debtors, each Creditor, and every
 other party-in-interest in this case and each of their respective successors and
 assigns (whether or not such Creditors or parties-in-interest voted to accept the
 Plan, whether or not they are impaired under the Plan, and whether or not any such
 Claimant or party in interest has filed, or is deemed to have filed, a proof of Claim
 or proof of Interest), and any other Person giving, acquiring, or receiving property
 under the Plan, and any lessor or lessee of Property to or from the Debtors. The
 rights afforded in the Plan and the treatment of all Claims and Interests therein shall
 be in exchange for and in complete satisfaction of all Claims and Interests of any
 nature whatsoever, known or unknown, including, except as expressly provided in
 the Plan, interest accrued on or expenses incurred in connection with such Claims
 from and after the Order for Relief, against, the Debtors or their property or
 interests in property.

 ...

 14. Pursuant to Section 13.1 of the Plan, and subject to the conditions set forth
 therein, except with respect to the Surviving Liquidating Trust Claims and as
 otherwise expressly provided in the Plan, or any other Order of this Court, all
 persons or entities who have held, hold or may hold Claims against or Interests in
 the Debtors, along with their respective present and former employees, agents,
 officers, directors, principals and affiliates, are permanently enjoined, from and
 after the Effective Date, from taking any of the following actions against the
 Debtors, their respective estates, any party expressly released pursuant to the Plan,
 or any of their respective property with respect to such Claim or Interest (other than
 actions brought to enforce any rights or obligations under the Plan):

       i) commencing or continuing in any manner any action or other proceeding of
            any kind;
       ii) enforcing, attaching, collecting, or recovering in any manner any judgment,
            award, decree, or order;
       iii) creating, perfecting, or enforcing any lien or encumbrance, in any manner;
       iv) asserting any setoff, right of subrogation, or recoupment;
       v) commencing or continuing any action, in any manner or place, that does not
            comply with or is inconsistent with the provisions of the Plan or this
            Confirmation Order; and
       vi) pursuing any Claim released pursuant to Section 13.1 of the Plan.



                                           7
     Case 8-10-73724-ast         Doc 465     Filed 07/19/13      Entered 07/19/13 13:23:58




       15. Such injunction shall extend to any successors of the Debtors, the Trusts and
       their respective properties and interests in properties. Additionally, upon the entry
       of this Confirmation Order, all holders of Claims and Interests and other parties in
       interest, along with their respective present and former employees, agents, officers,
       directors, principals and affiliates are hereby enjoined (from taking any actions
       other than by or in connection with an appeal of this Confirmation Order) to
       interfere with the implementation or consummation of the Plan and/or the Trusts.
       Pursuant to Section 13.1 of the Plan, unless otherwise provided in the Plan, this
       Confirmation Order, or a separate order of the Bankruptcy Court, all injunctions or
       stays arising under or entered during the Chapter 11 cases under section 105 or 362
       of the Bankruptcy Code, or otherwise, and in existence on the date of this
       Confirmation Order shall remain in full force and effect until the later of the
       Effective Date and the date indicated in the order providing for such injunction or
       stay; provided, however, that on the Effective Date, the stay shall be replaced to the
       extent provided in this Confirmation Order, with an injunction set forth in Section
       13.1 of the Plan, sections 524 and 1141 of the Bankruptcy Code and/or this Order.

Confirmation Order at ¶¶ 7-8, 14-15 [dkt item 367].

       Collectively, the injunctions arising under the Plan and the Confirmation Order are referred

to as the “Injunctions.”

                                        EOPABC’s Claims

       EOPABC claims that it is a person entitled to rely on and receive the protections of the Plan

and the Confirmation Order, and in particular the Injunctions, as it is an assignee of LTS. As a

part of the Plan process, LTS was established as a liquidating trust into which all the TFC collateral

was assigned for purposes of liquidating the debts owed by JNL and Forgione to TFC; one of the

mortgages assigned to LTS is the a mortgage at issue in state court litigation pending between

Francois and several parties.

       Through its Motion, EOPABC seeks to hold Francois and Sager in contempt and to enforce

the Injunctions, as follows. Francois commenced a prepetition state court action in October 2008,

assigned Index No. 27051/2008. (the “State Court Action”), claiming that the Estate of Exumene

Louise Simpson a/k/a Louise Jean Simpson, of which Francois is the Administrator, was

defrauded in connection with a real estate transaction. In particular, Francois alleges that a deed



                                                  8
     Case 8-10-73724-ast         Doc 465     Filed 07/19/13       Entered 07/19/13 13:23:58




of certain real property located 592 Eastern Parkway, Brooklyn, New York (Block 1269, Lot 27)

(the “Property”) allegedly made by Exumene Louise Simpson and her long pre-deceased husband,

Armand Simpson, to Michael Simpson dated February 22, 2006, but not recorded until May 20,

2008, was forged by a third party and is therefore void. She further alleges that on or about

August 1, 2008, the Property was conveyed by Michael Simpson to Dennis Anninos Realty

Management Corp. a/k/a Dennis Anninos Realty Management (“Dennis Anninos Realty”); that on

or about August 19, 2008, Dennis Anninos Realty conveyed the Property to Cool Water Group,

LLC (“Cool Water”); and that on August 19, 2008, Cool Water granted a $471,000.00 mortgage to

JNL secured by the Property (the “Cool Water Mortgage”). JNL received the Cool Water

Mortgage prior to institution of Francois’ suit on October 21, 2008. This Cool Water Mortgage

was part of the collateral JNL had granted to TFC in connection with the Agreement and certain

prepetition loans made by the Lenders to JNL, and, as such, were among the mortgages assigned as

part of confirmation by JNL to LTS; subsequently, LTS assigned its rights under the Cool Water

Mortgage to EOPABC.

       EOPABC and Francois essentially agree that: (1) if the Francois deed to Michael Simpson

is void as a forgery, then the Cool Water Mortgage may not be enforceable against the Property,

unless the Confirmation Order is binding on Francois and converts her in rem claim against the

Property to a monetary claim against the JNL bankruptcy estate; and (2) if the Injunctions apply to

Francois, she would be barred from prosecuting her claims in the State Court Action as they would

relate to an interest of JNL and its assignees in the Property.

       The July 28, 2011 assignment from JNL to LTS provides, inter alia:

       KNOW THAT, JNL Funding Corp., a New York Corporation with offices at 4792
       Hempstead Turnpike, Farmingdale, NY 11735, (the “Assignor”), for good and
       valuable consideration, hereby assigns to Liquidation Trustee Services, LLC, a
       Delaware limited liability company, as Trustee of the TFC Liquidating Trust (the



                                                  9
      Case 8-10-73724-ast             Doc 465       Filed 07/19/13         Entered 07/19/13 13:23:58




         “Assignee”), that certain Mortgage dated the 19th day of August 2008, made by
         Cool Water Group LLC in favor of JNL Funding Corp. in the principal sum of Four
         Hundred Seventy-One Thousand and 00/100 Dol1ars ($471,000.00) and recorded
         on the 1st day of October 2008 in Reel/Liber at Page/Control #/CRFN
         2008000388371, in the office of the Register/Clerk of the County of Kings,
         covering premises known as and by: . . . 592 Eastern Parkway, Brooklyn, New
         York

         ...

         This Assignment is given pursuant to order of the United States Bankruptcy Court
         for the Eastern District of New York (Central Islip) (the “Bankruptcy Court”) in
         accordance with the Order of the Bankruptcy Court, dated June 30, 2011 (the
         “Confirmation Order”, Docket No. 95) and entered on July 1, 2011 at 9:27 AM,
         confirming the Assignor’s Amended Plan of Reorganization, dated May 2,2011
         (the “Plan”) and under the Liquidation Trust formed under that certain Liquidation
         Trust Agreement, dated June 6, 2011, between Assignor, the Assignee, as the
         Liquidation Trustee, and Textron Financial Corporation, individually, and as agent
         for itself and TD BANK, N .A., as the beneficiaries under the Liquidation Trust
         (collectively, “TFC”) . . . .

Assignment of Mortgage at p. 1 [dkt item 448-1] (the “Assignment”).

         EOPABC alleges that Francois and her attorney, Sager, violated the Injunctions by

proceeding with the State Court Action and by amending the Complaint to add LTS as a defendant

after entry of the Confirmation Order. EOPABC asserts that it only learned of JNL’s bankruptcy

filing on May 15, 20123, after entry of the Confirmation Order, and immediately advised Sager

thereof.

         EOPABC further alleges that it advised Francois and Sager numerous times about the Plan

Confirmation Order and Injunctions, but they continued with the State Court Action in the face of

this Court’s Injunctions. Francois and Sager do not dispute being advised of the Injunctions and

do not dispute proceeding with the State Court Action with actual knowledge of the Injunctions;

they simply argue that they were not bound by the Injunctions.

3
  In the Motion, counsel for EOPABC acknowledges that it had previously represented both JNL and LTS with
respect to the State Court Action. See Motion at ¶¶ 4, 14 [dkt item 448]. It is curious that counsel was unaware of
JNL’s bankruptcy case until May 2012 given that, as noted above, the July 28, 2011 Assignment from JNL to LTS
specifically references JNL’s bankruptcy case in significant detail.


                                                         10
     Case 8-10-73724-ast        Doc 465      Filed 07/19/13     Entered 07/19/13 13:23:58




                                             Analysis

   There are two primary issues for this Court to determine:

   1. Is Francois bound by the Plan and Confirmation Order and the Injunctions arising
      thereunder; and

   2. Should Francois and/or Sager be penalized for proceeding with the State Court Action after
      having actual knowledge of the Plan, Confirmation Order, and Injunctions and, if so, what
      is an appropriate sanction?

Is Francois bound by the Plan and Confirmation Order and the Injunctions arising
thereunder?

1. The Scope of Discharge under the Bankruptcy Code

       This analysis requires an examination of the scope of the bankruptcy discharge and the due

process requirements for debts to be discharged. “[T]he confirmation of a [Chapter 11

bankruptcy] plan . . . discharges the debtor from any debt that arose before the date of such

confirmation.” 11 U.S.C. § 1141(d)(1)(A). “A ‘debt’ is defined to mean ‘liability on a claim,’

and, in turn, a ‘claim’ is defined to include any ‘right to payment, whether or not such right is

reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,

undisputed, legal, equitable, secured, or unsecured.’” In re WorldCom, Inc., 546 F.3d 211, 216

(2d Cir. 2008) (quoting 11 U.S.C. § 101(5)(A), (12)); DPWN Holdings (USA), Inc., v. United Air

Lines, Inc., 871 F. Supp. 2d 143, 151 (E.D.N.Y. 2012). As Judge Gleeson of the Eastern District

of New York noted in DPWN Holdings:

       A debtor that has completed Chapter 11 proceedings may use the bankruptcy
       court’s confirmation order as an affirmative defense in subsequent lawsuits. If a
       plaintiff asserts a claim that arose before the confirmation of the debtor’s
       reorganization plan, the claim will generally be dismissed as having been
       discharged.

Id. (citing Holmes v. Air Line Pilots Ass’n, In’l, 745 F. Supp. 2d 176, 196-97 (E.D.N.Y. 2010)).




                                                 11
     Case 8-10-73724-ast         Doc 465     Filed 07/19/13      Entered 07/19/13 13:23:58




       A creditor who knowingly pursues a claim that has been discharged in bankruptcy may be

held in civil contempt and subject to sanctions. See In re Kalikow, 602 F.3d 82, 94-95 (2d Cir.

2010) (citing cases). The confirmation injunction also binds third parties who act on a named

party’s behalf, such as the creditor’s attorney. See id. “Before a party can be found guilty of

aiding and abetting civil contempt, the court must find: (1) that the party subject to the court’s

mandate committed contempt; and (2) that another party assisted the enjoined party.” Id.

(quoting Levin v. Tiber Holding Corp., 277 F.3d 243, 250 (2d Cir. 2002)); In re Nicholas, 457 B.R.

202, 225 (Bankr. E.D.N.Y. 2011); In re McKenzie-Gilyard, 388 B.R. 474, 481 (Bankr. E.D.N.Y.

2007). The party seeking to hold another in civil contempt bears the burden of proof by clear and

convincing evidence. See McKenzie-Gilyard, 388 B.R. at 481.

2. The Requirements of Due Process

       As Judge Gleeson also noted in DPWN Holdings, the ability of a Chapter 11 debtor to

discharge claims “cannot be divorced from fundamental principles of due process.” Id. at 153

(quoting In re Grossman’s Inc., 607 F.3d 114, 125 (3rd Cir. 2010) (en banc)). “Before a claim

may be discharged in a bankruptcy proceeding, the claimant must therefore be afforded notice and

an opportunity to be heard.” Id. (citing Sanchez v. Northwest Airlines, Inc., 659 F.3d 671, 675-76

(8th Cir. 2011)). As also noted in these cases, while a bankruptcy court’s confirmation order is

generally afforded a preclusive effect, such effect cannot be given to a confirmation order if to do

so would result in a denial of due process. See id. at 153-54 (citing see Arch Wireless, Inc. v.

Nationwide Paging, Inc., 534 F.3d 76, 82-83 (1st Cir. 2008)); see also In re Kendavis Holding Co.,

249 F.3d 383, 388 (5th Cir. 2001).

       Here, one effect of the Plan and Confirmation Order would be to convert Francois’ in rem

right to challenge title to the Property to a monetary claim for damages against the JNL bankruptcy




                                                 12
     Case 8-10-73724-ast         Doc 465      Filed 07/19/13     Entered 07/19/13 13:23:58




estate. However, the parties agree that Francois was not scheduled as a creditor and did not

receive any timely notice of the JNL’s bankruptcy proceedings and, in fact, received no notice

prior to issuance of the Injunctions. Thus, Francois cannot be held to hold a discharged claim,

because her due process rights would have been violated; said otherwise, her in rem right to

challenge JNL’s title to or mortgage against the Property may not be abrogated without Francois

having been afforded due process. See Reliable Elec. Co. v. Olson Constr. Co., 726 F.2d 620, 623

(10th Cir. 1984) (“[W]e hold that notwithstanding the language of section 1141, the discharge of a

claim without reasonable notice of the confirmation hearing is violative of the fifth amendment to

the United States Constitution.”). Due process requires “notice reasonably calculated, under all

the circumstances, to apprise interested parties of the pendency of the action and afford them an

opportunity to present their objections.” Mullane v. Cent. Hanover Trust Co., 339 U.S. 306, 314

(1950); see Jones v. Flowers, 547 U.S. 220, 226 (2006).

         In this case, Francois did not receive these due process protections, in spite of JNL having

been engaged in the State Court Actions with Francois prior to and during the pendency of the JNL

bankruptcy case, and prior to entry of the Confirmation Order. Thus, Francois was not, and

cannot be, bound by the Confirmation Order and the Injunctions as and when issued by this Court,

and her in rem rights against the Property, if any, are unimpaired by the Plan and Confirmation

Order.

Should Francois and Sager be penalized for proceeding with the State Court Suit after having
actual knowledge of the Plan and Confirmation Order?

         While Francois has the right to challenge the effectiveness of the Confirmation Order and

the scope of the Injunctions as they relate to her, she should have done so before this Court. When

a challenge is made to the scope of a bankruptcy discharge and an injunction created incident

thereto, that challenge should be brought in the bankruptcy court that issued the confirmation



                                                 13
     Case 8-10-73724-ast         Doc 465     Filed 07/19/13      Entered 07/19/13 13:23:58




order; this is particularly true because “a bankruptcy court’s confirmation order is res judicata and

bars relitigation of issues or claims that should have been raised in the bankruptcy proceedings.”

DWNP Holdings, 871 F. Supp. 2d. at 160; see Sure-Snap Corp. v. State St. Bank & Trust Co., 948

F.2d 869, 873 (2d Cir. 1991); see also In re Layo, 460 F.3d 289, 293-94 (2d Cir. 2006). However,

an exception to res judicata arises where, as here, “there was not a full and fair opportunity to

litigate a claim in the prior proceeding, and a lack of due process deprived [a litigant] of the

opportunity to litigate its . . . claim in the bankruptcy proceedings.” DWPN Holdings, 871 F.

Supp. 2d. at 160; see In re Arch Wireless, 332 B.R. 241, 252-53 (Bankr. D. Mass. 2005), aff’d Arch

Wireless, 534 F.3d 76.

       Counterbalancing this, however, is the obligation of a litigant who learns of the existence

of an injunction to honor that court order until relieved thereof. See McKenzie-Gilyard, 388 B.R.

at 482 (party that has actual or constructive knowledge of discharge injunction and willfully

violates it by continuing the complained-of activity may be liable for civil contempt); In re Torres,

367 B.R. 478, 490 (Bankr. S.D.N.Y. 2007) (same); see also In re Rountree, 448 B.R. 389, 416-17

(Bankr. E.D. Va. 2011) (same); In re Walter, 265 B.R. 753, 758-60 (Bankr. N.D. Ohio 2001);

Matter of Schewe, 94 B.R. 938, 947 (Bankr. W.D. Mich. 1989 (“To knowingly violate a court

order, a person need not have formal or official notice of it; actual knowledge is sufficient.”);

accord Fidelity Mortg. Investors v. Camelia Builders, Inc., 550 F.2d 47, 51 (2d Cir. 1976). Thus,

while Francois could have sought relief from the Injunctions from this Court, she was not entitled

to simply ignore the Injunctions.

       Because this Court has now determined that Francois is entitled to not be bound by the

Injunctions, the issue, then, is the proper penalty for Francois and Sager acting in violation of the

Injunctions once they had actual knowledge thereof. The remedy suggested by EOPABC,




                                                 14
      Case 8-10-73724-ast        Doc 465      Filed 07/19/13     Entered 07/19/13 13:23:58




forfeiture of Francois’ rights to litigate its claim of ownership of the Property, is far too severe. A

penalty for violation of an injunction “should be narrowly tailored to fit specific legal violations.”

Welch v. United Parcel Serv., Inc., 871 F.Supp.2d 164, 199 (E.D.N.Y. 2012) (citing Patsy’s Brand

Inc. v. I.O.B. Realty, Inc., 317 F.3d 209, 220 (2d Cir. 2003)); see Waldman Pub. Corp. v. Landoll,

Inc., 43 F.3d 775, 785 (2d Cir. 1994).

        Additionally, the determination of a proper sanction is complicated by the fact that

EOPABC’s counsel who filed the current Motion also represented JNL in the State Court Action

while JNL was a party. Even if JNL’s specific counsel in that action did not know about the

bankruptcy, JNL had an obligation to notify its own attorney about the bankruptcy while the State

Court Action was pending, and had a separate obligation to notify Francois of its bankruptcy.

Similarly, once LTS took title to the mortgage on the Property from JNL through the Assignment,

and thereafter appeared in the State Court Action, LTS should have raised the Injunctions in a

more timely fashion. Thus, the current dilemma: on the one hand, EOPABC’s predecessors in

interest, JNL and LTS, failed to give Francois and Sager proper notice of this bankruptcy case; on

the other hand, a party who is, or may be, subject to an Injunction cannot simply ignore that Court

order. The proper response for Francois and Sager would have been to come to this Court on their

own initiative to seek relief from the Injunctions, rather than simply ignore them and proceed as

they see fit.

        This Court finds that the actual harm caused by Francois’ and Sager’s willful disregard of

the Injunctions once they were given actual notice in May 2012 is limited to necessitating the filing

of the instant Motion for contempt and the holding of a hearing on that Motion on April 3, 2013.

While Francois would have incurred costs in seeking relief from the Injunctions and protecting her

in rem rights, EOPABC would not have had to incur the costs of bringing these matters to this




                                                  15
     Case 8-10-73724-ast         Doc 465      Filed 07/19/13     Entered 07/19/13 13:23:58




Court’s attention. However, once Francois did act and seek this Court’s intervention, EOPABC

would have most likely incurred most of the costs it incurred in seeking the relief it now seeks,

even though this Court has rejected the bulk of the relief sought by EOPABC. Finally, the JNL

bankruptcy estate has not been involved in this dispute and should not be awarded with a monetary

award for enforcing the Injunction that benefitted the estate, especially since JNL caused much of

this problem by not putting Francois on notice of the bankruptcy case on a timely basis.

       Therefore, the proper sanction is for Francois and Sager to pay a portion of EOPABC’s

counsel fees and costs incurred in filing the instant Motion and in appearing at the April 3, 2013

hearing. Given the specific facts of this case, however, this Court will limit the total sanction for

which Francois is liable to $2,500.00, which this Court finds to be a reasonable fee which

EOPABC incurred in connection with bringing this matter to this Court’s attention. No separate

sanction is imposed as against Sager because he was acting solely as Francois’ attorney, even if

under a mistaken impression that believing his client to not be bound by the Injunctions allowed

his client to ignore the Injunctions with impunity. In the alternative, the sum of $2,500.00 is a

reasonable sanction for Francois’ knowingly and willfully violating the Injunctions.

                                            Conclusion

       Based on the foregoing, it is hereby

       ORDERED, that this Court find and concludes that Francois is not bound by the Plan and

the Confirmation Order; however, this Court find and concludes that Francois knowingly and

willingly violated this Court’s Injunctions by continuing with the State Court Action after

receiving actual notice of this bankruptcy case and the Injunctions in May 2012; Francois is

therefore found to be and is held in civil contempt of court; and it is therefore




                                                 16
     Case 8-10-73724-ast          Doc 465    Filed 07/19/13     Entered 07/19/13 13:23:58




          ORDERED, that EOPABC’s Motion is hereby granted in part and denied in part as set

forth herein; and it is further

          ORDERED, that as a sanction for her knowing and willful violation of this Court’s

Injunctions, Francois shall be liable for a portion of EOPABC’s attorneys fees and costs incurred

in filing the instant Motion and for appearing at the April 3, 2013 hearing on the Motion, provided,

however, that the total sanction for which Francois is liable is limited to a total of $2,500.00,

which this Court considers to be a reasonable and necessary fee for part of the costs incurred in

preparing the Motion and appearing in connection therewith; in the alternative, the sum of

$2,500.00 is a reasonable sanction for knowingly and willfully violating the Injunctions; and it is

further

          ORDERED, that Francois shall pay the sum of $2,500.00 to EOPABC’s counsel, on

EOPABC’s behalf, within sixty (60) days from the date of entry of this Order and shall file an

affirmation or proof of payment with this Court; and it is further

          ORDERED, that the Clerk of the Court shall serve a copy of this Order upon EOPABC,

Francois, and Sager.




                                                               ____________________________
 Dated: July 19, 2013                                                   Alan S. Trust
        Central Islip, New York                                United States Bankruptcy Judge


                                                 17
